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5 |ICALIFORNIA MEDICAL TRANSPORTATION ee
ASSOCIATION, INC. and DIANA BULGARELLI "on Gomez
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8 SUPERIOR COURT OF THE STATE OF CALIFORNIA
9 COUNTY OF LOS ANGELES
10 BC67 ETE,
CALIFORNIA MEDICAL TRANSPORTATION _ ) Case No.
11 |ASSOCIATION, INC., a California Corporation; )
DIANA BULGARELLI, an Individual, ) COMPLAINT FOR VIOLATIONS OF
12 ) BUSINESS & PROFESSIONS CODE §
Plaintiffs, ) 17200; INJUNCTIVE AND
13 ) DECLARATORY RELIEF
vs. )
14 )
LOGISTICARE SOLUTIONS, LLC and DOES 1)
15 |Ithrough 20, inclusive, )
)
16 Defendants. )
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Complaint for Injunctive and Declaratory Relief

 

 

 
 

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Plaintiffs CALIFORNIA MEDICAL TRANSPORTATION ASSOCIATION, INC., a
California Corporation and DIANA BULGARELLI, an Individual, complain of defendant
LOGISTICARE SOLUTIONS, LLC (“LOGISTICARE”) and DOES 1 through 20, inclusive, as

follows.
JURISDICTION AND VENUE
1. Plaintiff CALIFORNIA MEDICAL TRANSPORTATION ASSOCIATION, INC.
(“CMTA”) was founded in 1978 and is a nonprofit organization whose mission is to serve and

protect the needs of its members in the non-emergency medical transportation industry
(“NEMT”). CMTA represents all NEMT providers in the State of California. CMTA advocates
for the highest quality of patient care through ethical and sound business practices, advancing the
interests of its members in important legislative, educational, regulatory and reimbursement
issues. In accomplishing this goal, CMTA is dedicated to excellence in providing superior service
to its members and in developing positive relationships with other organizations involved in the
medical transportation field.

2. CMTA is a corporate citizen and resident of the State of California, and sues herein
on its own behalf, in its own interest, and in the interest of its members, as well as also on behalf
of the public of the State of California, and of the Medi-Cal beneficiary patients of the members
of CMTA, to procure the performance of public duty by the defendant public officials.

3. CMTA also sues in a prudential jus tertii capacity to assert (1) the interests of its
members, each of whom is a NEMT provider in the Medi-Cal program as well as (2) the interests
of the Medi-Cal patients of the members of CMTA, in the claims which are sued upon and sought
in this complaint.

4, All of the members of CMTA are Medi-Cal providers suffering a concrete
economic injury by the unlawful actions of LOGISTICARE. CMTA, as well as the NEMT
provider members of CMTA, and the Medi-Cal beneficiary patients of the NEMT provider

members of CMTA, on whose behalf CMTA sues herein, also have standing and a claim for

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Complaint for Injunctive and Declaratory Relief

 

 
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relief inasmuch as each has suffered, will suffer, and is threatened to suffer, concrete and
irreparable injury.

5. Medi-Cal beneficiaries face economic hindrances to their ability to assert their own
rights in this case. To qualify for Medi-Cal, an individual must demonstrate financial need for
medical assistance from the State. In light of their finances and the cost of litigation, Medi-Cal
beneficiaries are not be able to effectively protect their interests.

6. CMTA, which represents its members that participate in the Medi-Cal program and
the Medi-Cal beneficiaries served by these providers, and as parties seeking to compel _
LOGISTICARE to comply with its public duties as defined by law, has a right and an enforceable
interest to maintain this action to: (1) enjoin the Defendants’ continuing violation of federal, state
and local laws; and (2) compel the Defendants to comply with provisions of applicable federal,
state and local laws.

7. CMTA has a right and an enforceable interest to maintain this action against
LOGISTICARE to enjoin it from continuing violation of Medi-Cal law and to compel it to
comply with the provisions of applicable Medi-Cal law.

8. DIANA BULGARELLI (“MS. BULGARELLI”) is a Medi-Cal beneficiary who
uses NEMT services to get to her medical appointments.

9, In 2014, LOGISTICARE became the exclusive provider of NEMT for millions of
Los Angeles County residents enrolled in certain Medi-Cal health plans. In contracting to become
the exclusive provider for Medi-Cal patients, LOGISTICARE committed to provide services with
the same standard of care, skill, and diligence customarily used by other Los Angeles County
providers, and to comply with all applicable federal, state, county, and local laws and regulations.

10. The true names or capacities, whether individual, corporate, associate, or otherwise
of defendants named in this action as Does 1 through 20 are unknown to Plaintiffs, who therefore
sue such defendants by such fictitious names. Plaintiffs will seek leave of this Honorable Court to
amend this Complaint when the true names and/or capacities of said defendants have been

ascertained.

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Complaint for Injunctive and Declaratory Relief

 

 
 

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11. Each of the named defendants and each of the fictitiously named DOE defendants,
was the agent, or employee, partner or officer, director or joint venturer of defendants herein, and
doing the things herein alleged was acting within the course and scope of said agency,
employment, partnership, joint venture, or association and under the direction of, and with the
consent and permission, advance knowledge and/or ratification of the other defendants.

12, Venue lies in this judicial district in that LOGISTICARE contracts to provide, and
does provide, NEMT rides to numerous locations within this judicial district, and has been warned
by the City of Los Angeles Department of Transportation, located at 100 S. Main Street, Los
Angeles, CA 90012, that it may not implement its own rate structure in violation of Ordinance
182502, and is thus deemed to both conduct business and reside within this judicial district and
also in that Plaintiffs or their members are located and reside within this judicial district and the

consequences of LOGISTICARE’s unlawful activities are occurring within this judicial district.

CALIFORNIA’S MEDI-CAL PROGRAM

13. The State of California has elected to participate in the Medicaid program.
California has named its program “Medi-Cal.” See California Welfare & Institutions Code §§
14000 et seq.; 22 California Code of Regulations (“C.C.R.”) §§ 50000 ef seq."

14. _ California’s Medicaid program, Medi-Cal, is the largest state Medicaid program in
the nation. Insuring almost one-third of California’s more than 38 million residents, Medi-Cal is a
key source of health coverage in the state and the main source of coverage for low-income
children, adults, and people with disabilities. It also provides wrap-around coverage for many
elderly Medicare beneficiaries in the state.

15. The California Department of Health Care Services (“DHCS”) awards contracts to
health plans to serve Medi-Cal beneficiaries in a specified county or service area. Today,
approximately 10.3 million Medi-Cal beneficiaries in all 58 California counties are enrolled in
Medi-Cal managed care plans ("MCP").

16. | Each MCP receives a monthly fee, or per capita rate, from the state for every

 

‘California Code of Regulations is herein abbreviated as “CCR.”
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Complaint for Injunctive and Declaratory Relief

 

 

 
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enrolled recipient. Medi-Cal recipients enrolled in contracting MCPs must receive Medi-Cal
benefits from plan providers and not from providers who bill through the fee-for-service program.
Each MCP is unique in its billing and service procedures.

17. Medi-Cal covers ambulance and other medical transportation only when ordinary
public or private conveyance is medically contra-indicated and transportation is required for
obtaining needed medical care.

18. | LOGISTICARE is a Transportation Management Organization that has been
contracted by MCPs as a broker to provide NEMT throughout California and has the exclusive

contract in Los Angeles County.

NONEMERGENCY MEDICAL TRANSPORTATION

A. Nonemergency Medical Transportation.

19. State regulations define NEMT as “transportation by ambulance, litter van and
wheelchair van of the sick, injured, invalid, convalescent, infirm or otherwise incapacitated
persons whose medical conditions require medical transportation services but do not require
emergency services or equipment during transport” (22 CCR § 51151.7). These transportation
services allow Medi-Cal beneficiaries to obtain needed medical care.

20. According to State regulations: “Ambulance, litter van and wheelchair van medical
transportation services are covered when the beneficiary’s medical and physical condition is such
that transport by ordinary means of public or private conveyance is medically contraindicated, and
transportation is required for the purpose of obtaining needed medical care” (22 CCR §
51323(a)).

21. | NEMT services necessary to obtain services under Medicaid generally require a
physician’s, dentist’s, or podiatrist’s prescription and prior authorization (22 CCR §
51323(b)(2)). However, NEMT services are exempt from prior authorization when provided to a
patient being transferred from an acute-care hospital immediately following a stay as an inpatient
at the acute level of care to a skilled nursing facility or an intermediate-care facility.

Transportation providers obtain prior authorization by submitting a treatment authorization

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request (TAR) to the State agency (22 CCR § 51003(a)). The TAR contains information necessary
for the State agency to determine the medical necessity of the NEMT services. If the TAR is
approved, the transportation provider is authorized to provide approved NEMT services to the
beneficiary and receive reimbursement from the State agency for those services.

22. The State agency pays for NEMT services if transportation is required for
beneficiaries to obtain needed medical care (22 CCR § 51323(a)).

23. Transportation providers that use wheelchair vans to provide NEMT services must
maintain records indicating that their drivers comply with State requirements to operate those
vehicles. Wheelchair van drivers must possess a current California driver’s license, first aid
certification, and evidence that they passed a medical examination within the past 2 years (22

CCR §§ 51231.1(a)(1) and 51231.2(a)(1)).

B. Definitions.

24. “Wheelchair Van” means a vehicle which is modified, equipped and used for the
purpose of providing non-emergency medical transportation for wheelchair van medical
passengers, and which is not routinely staffed or equipped with the medical equipment or
personnel required for the specialized care provided in an ambulance.

25. “‘Wheelchair Van Medical Passenger” means a passenger whose condition is such
that the passenger may be transported seated in a wheelchair. The passenger must be able to sit
erect, hold his/her head up, maintain an open airway without assistance, can self-administer any
medical care needed en-route. MCPs must provide wheelchair van services when the member’s

medical and physical condition does not meet the need for litter van services, but meets any of the

following:
a. Renders the member incapable of sitting in a private vehicle, taxi or other form of
public transportation for the period of time needed to transport. (22 CCR § 51323
(3)(A))

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26.

Requires that the member be transported in a wheelchair or assisted to and from a

residence, vehicle and place of treatment because of a disabling physical or mental

limitation. (22 CCR § 51323 (3)(B)).

Requires specialized safety equipment over and above that normally available in

passenger cars, taxicabs or other forms of public conveyance. (22 CCR § 51323

(3)fc].

Examples of members who qualify for wheelchair van transport include, but are

not limited to, the following: Members who suffer from severe mental confusion; Members with

paraplegia; Dialysis recipients; and Members with chronic conditions who require oxygen but do

not require monitoring.

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51231.2.

Equipment.

Each Wheelchair Van is required to be equipped in accordance with 22 CCR §

Personnel Requirements.

b.

Wheelchair Van Personnel must be staffed in accordance with 22 CCR §
51231.2;

Drivers and Attendants of Wheelchair Vans must be at least eighteen (18)
years of age and hold an appropriate valid-California Driver’s License;
Drivers and Attendants of Wheelchair Vans must hold a current certificate
in CPR, and demonstrate compliance with all applicable state and local
laws and regulations;

Personnel must wear visible identification including the employee’s name
and the name of the Transportation Entity; and

No person shall act in the capacity of a Wheelchair Van Driver or Attendant

when such person:

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Complaint for Injunctive and Declaratory Relief

 

 
 

 

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L is required by law to register as a sex offender for any offense
involving force, duress, threat or intimidation;

ii. habitually or excessively uses or is addicted to narcotics or
dangerous drugs, or has been convicted during the preceding seven
(7) years of any felony offense relating to the use, sale, possession
or transportation of narcotics, addictive or dangerous drugs, or

alcohol; or

iil. habitually or excessively uses intoxicating beverages.
E. Documentation Requirements.
28. Medical transportation providers must maintain readily retrievable records to fully

disclose the type and extent of services provided (22 CCR § 51476).

29. Medical transportation providers must follow federal and state requirements for
maintaining supporting documentation for drivers and vehicles associated with medical
transportation services (22 CCR §§ 51476, 51231, 51231.1 and 51231.2).

30. Medical transportation providers’ records must include the provider-assigned
vehicle identification codes (22 CCR § 51476(e)(3)) identifying the vehicles used to transport
Medicaid beneficiaries.

31. State regulations (22 CCR §§ 51476(e)) require that records of medical

transportation providers shall include:

a. time and date of service for each beneficiary;
b. odometer readings at each pick-up and delivery location;
c. the provider assigned vehicle identification code and name of the operator
providing the service; and
d. names of beneficiaries transported in total or partial group runs.
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F. NEMT Physician Certification Statement Forms.

32. | MCPs and transportation brokers must use Physician Certification Statement
(PCS) forms to determine the appropriate level of service for Medi-Cal members. Once the
member’s treating physician prescribes the form of transportation, the MCP cannot modify the
authorization. In order to ensure consistency amongst all plans, all NEMT prescription forms
must include, at a minimum, the PCS form components listed below:

a. Function Limitations Justification: for NEMT, the physician is required to
document the member’s limitations and provide specific physical and medical
limitations that preclude the member’s ability to reasonably ambulate with
assistance or be transported by public or private vehicles;

b. Dates of Service Needed: start and end dates for NEMT services;

C. Mode of Transportation Needed: the mode of the transportation that is to be used
when receiving these services (ambulance/gurney van, litter van, wheelchair van or
air transport) must be listed; and

d. Certification Statement: prescribing physician’s statement certifying that medical
necessity was used to determine the type of transportation being requested."

G. Nonmedical Transportation — July 1, 2017 Amendment to Welfare &
Institutions Code § 14132.

33. On July 1, 2017, Assembly Bill 2394 (a copy of which is attached hereto as Exhibit

“A”) amended Welfare & Institutions Code § 14132 to "add to the schedule of benefits
nonmedical transportation as defined, subject to utilization controls and permissible time and
distance standards, for a beneficiary to obtain covered Medi-Cal services.”

34. Welfare & Institutions Code § 14132, as amended, in subsection (ad)(2)(A) (G1)
states as follows: “Nonmedical transportation does not include the transportation of sick, injured,
invalid, convalescent, infirm, or otherwise incapacitated beneficiaries by ambulances, litter vans,
or wheelchair vans licensed, operated, and equipped in accordance with state and local statutes,

ordinances, or regulations." [Emphasis added.]

 

 

* Nonmedical transportation shall hereinafter be referred to as “NMT.”
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Complaint for Injunctive and Declaratory Relief

 

 
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35. In regard to implementation, Assembly Bill 2394 stated that “the department,
without taking any further regulatory action, shall implement, interpret, or make specific this
subdivision by means of all-county letters, plan letters, plan or provider bulletins, or similar
instructions until the time regulations are adopted.”

36. In response to the implementation requirement, on July 17, 2017, the Department
of Health Care Services, issued a revised All Plan Letter (“APL”) 17-010, a copy of which is
attached hereto as Exhibit “B,” and in regard to transportation of wheel chair patients, stated as
follows:

“NMT does not include transportation of the sick, injured, invalid, convalescent, infirm, or

otherwise incapacitated members who need to be transported by ambulances, litter vans, or

wheelchair vans licensed, operated, and equipped in accordance with state and local
statutes, ordinances, or regulations. Physicians may authorize NMT for members if they
ambulate without assistance from the driver. The NMT requested must be the least costly
method of transportation that meets the member’s needs.” [Emphasis added.]

37. On July 31, 2017, the Department of Health Care Services gave further guidance
regarding transportation for wheelchair patients when, in response to an inquiry from Assembly
Member Adrin Nazarian, it stated:

“NMT does not include transportation of the sick, injured, invalid, convalescent, infirm, or

otherwise incapacitated members who need to be transported by ambulances, litter vans, or

wheelchair vans licensed, operated, and equipped in accordance with state and local
statutes, ordinances, or regulations. Physicians may authorize NMT for members if they
ambulate without assistance from the driver. The NMT requested must be the least costly

method of transportation that meets the member’s needs.

NMT does not include medical transportation of the sick, injured, invalid, convalescent,

infirm, or incapacitated.” [Emphasis added.]

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A copy of the July 31, 2017 response is attached hereto as Exhibit “C.”

FIRST CAUSE OF ACTION:
UNLAWFUL BUSINESS ACTS AND PRACTICES
[BUS. & PROF, CODE § 17200, ET SEQ.]

(BY PLAINTIFFS AGAINST DEFENDANTS)

38. Plaintiffs refer to and incorporate by reference each and every allegation contained
in the above paragraphs as though fully set forth herein.

39. Because LOGISTICARE is paid on a capitated rate (i.e., flat fee) for providing
services to Medi-Cal patients, there is a strong incentive to cut costs.

40. Title 22 CCR § 51527, which relates to the rates for medical transportation
services, specifies that, in regard to Wheelchair Vans, NEMT providers are to be paid specified
rates, including: $17.65 for a "response to call;" $1.30 for "one way - per mile;" $6.13 for a "night
call -7:00 p.m. to 7:00 a.m.;" and $0.89 for "wheelchair use." These figures were adjusted
downwards by 10% from the standard rates as part of the state deficit reduction program. See
Welf. & Inst. Code § 14105.192. However, LOGISTICARE ignores these rates set by the
Legislature and has a pattern and practice of threatening NEMT providers that, unless they accept
progressively lower and lower rates, LOGISTICARE will not send any additional rides to
non-complying NEMT providers and will send the rides to other NEMT providers. By doing so,
LOGISTICARE violates California law, ignores the intent of the Legislature, and unlawfully
coerces NEMT providers to accept rates well below those approved by the Legislature which
jeopardizes the health and safety of Medi-Cal beneficiaries, and increases their risk of injury and
death, especially those Medi-Cal beneficiaries who need regular dialysis treatments.

41. By engaging in the conduct specified in paragraph 40, above, namely demanding
“discounts” from NEMT providers, LOGISTICARE further violates Title 22 CCR § 51478, which
relates to “Prohibition of Rebate, Refund, or Discount,” and states as follows:

“No provider shall offer, give, furnish, or deliver any rebate, refund, commission

preference, patronage dividend, discount, or any other gratuitous consideration, in

 

connection with the rendering of health care service to any Medi-Cal beneficiary. No

provider shall solicit, request, accept, or receive, any rebate, refund, commission,

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preference, patronage dividend, discount, or any other gratuitous consideration, in

 

connection with the rendering of health care service to any Medi-Cal beneficiary.”

{Emphasis added.]

42. Business & Professions Code Section 17200, et seq., prohibits acts of "unfair
competition,” which is defined by Business & Professions Code Section 17200 as including “any
unlawful, unfair or fraudulent business act or practice."

43. The acts and practices of Defendants, as described above, and specifically
LOGISTICARE’s continued violation of 22 CCR § 51527 and Title 22 CCR § 51478 violate
Business & Professions Code Section 17200's prohibition against engaging in "unlawful" business
acts or practices.

44. Plaintiffs seek declaratory relief enjoining Defendants from continuing these
unlawful business practices and from engaging in such conduct, attorneys’ fees and costs
pursuant to, inter alia, California Civil Code of Procedure Section 1021.5, and all other remedies.

SECOND CAUSE OF ACTION:
UNLAWFUL BUSINESS ACTS AND PRACTICES
[BUS. & PROF. CODE § 17200, ET SEQ.]

(BY PLAINTIFFS AGAINST DEFENDANTS)

45. Plaintiffs refer to and incorporate by reference each and every allegation contained
in the above paragraphs as though fully set forth herein.

46. Because LOGISTICARE is paid on a capitated rate (i.e., flat fee) for providing
services to Medi-Cal patients, there is a strong incentive to cut costs.

47. City of Los Angeles Ordinance Number 182502 states as follows:

“Any person, firm or corporation violating any of the provisions of said resolution shall be

guilty of a misdemeanor and upon conviction shall be punishable by a fine of not more

than One Thousand Dollars ($1,000.00), by imprisonment in the County Jail for a period
not to exceed one hundred eighty (180) days, or by both such fine and imprisonment."

48. City of Los Angeles Ordinance Number 182502, which relates to the rates for
medical transportation services, specifies that, in regard to Wheelchair Vans, NEMT providers are

to be paid specified rates, including: $37.25 for a "response to call;" $3.50 for "each mile or

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fraction thereof;" $14.50 for "service rendered after 7:00 p.m. and before 7:00 a.m.;" and $8.25 for
"wheelchair use."

49, On March 15, 2017, the City of Los Angeles, sent a letter to LOGISTICARE
calling its attention to Ordinance Number 182502 and the current rates set forth in said Ordinance.
A copy of this letter from the City of Los Angeles to LOGISTICARE is attached hereto as Exhibit
D and incorporated by reference.

50. | LOGISTICARE ignores these rates set by the City of Los Angeles and has a
pattern and practice of threatening NEMT providers operating in the City of Los Angeles that,
unless they accept progressively lower and lower rates, LOGISTICARE will not send any
additional rides to non-complying NEMT providers and will send the rides to other NEMT
providers. By doing so, LOGISTICARE acts unlawfully and unlawfully coerces NEMT providers
to accept rates well below those approved by the City of Los Angeles which jeopardizes the health
and safety of Medi-Cal beneficiaries who live in, and receive Medi-Cal services within, the City
of Los Angeles, and increases their risk of injury and death, especially those Medi-Cal
beneficiaries who need regular dialysis treatments.

51. Business & Professions Code Section 17200, et seq., prohibits acts of "unfair
competition," which is defined by Business & Professions Code Section 17200.as including "any
unlawful, unfair or fraudulent business act or practice."

52. The acts and practices of Defendants, as described above, and specifically the
continued violation of City of Los Angeles Ordinance Number 182502 violates Business &
Professions Code Section 17200's prohibition against engaging in "unlawful" business acts or
practices.

53. Plaintiffs seek declaratory relief enjoining Defendants from continuing these
unlawful business practices and from engaging in such conduct, attorneys' fees and costs
pursuant to, inter alia, California Civil Code of Procedure Section 1021.5, and all other remedies.
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THIRD CAUSE OF ACTION:
UNLAWFUL BUSINESS ACTS AND PRACTICES
[BUS. & PROF. CODE § 17200, ET SEQ.]

(BY PLAINTIFFS AGAINST DEFENDANTS)

54, Plaintiffs refer to and incorporate by reference each and every allegation contained
in the above paragraphs as though fully set forth herein.

55. Because LOGISTICARE is paid on a capitated rate (i.e., flat fee) for providing
services to Medi-Cal patients, there is a strong incentive to cut costs.

56. | When a Medi-Cal beneficiary who previously was qualified for, and used NEMT
services on a fee-for service basis has been switched to LOGISTICARE, there is a gap of up to
two weeks prior to the time that LOGISTICARE opens a file in regard to the beneficiary and
during this time period LOGISTICARE will not pay (even retroactively) for transportation
services despite it being paid for this time period and having an obligation to do so, and such
failure jeopardizes the health and safety of Medi-Cal beneficiaries, and increases their risk of
injury and death, especially those Medi-Cal beneficiaries who need regular dialysis treatments.

57. Business & Professions Code Section 17200, et seq., prohibits acts of "unfair
competition," which is defined by Business & Professions Code Section 17200 as including "any
unlawful, unfair or fraudulent business act or practice."

58. The acts and practices of Defendants, as described above, and specifically the
failure to provide rides when required to do so violate Business & Professions Code Section
17200's prohibition against engaging in "unlawful" business acts or practices.

59. Plaintiffs seek declaratory relief enjoining Defendants from continuing these
unlawful business practices and from engaging in such conduct, attorneys' fees and costs
pursuant to, inter alia, California Civil Code of Procedure Section 1021.5, and all other remedies.

FOURTH CAUSE OF ACTION:
UNLAWFUL BUSINESS ACTS AND PRACTICES
[BUS. & PROF. CODE § 17200, ET SEQ.]
(BY PLAINTIFFS AGAINST DEFENDANTS)
60. Plaintiffs refer to and incorporate by reference each and every allegation contained

in the above paragraphs as though fully sét forth herein.

61. Because LOGISTICARE is paid on a capitated rate (i-e., flat fee) for providing
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services to Medi-Cal patients, there is a strong incentive to cut costs.

62. | When a Medi-Cal beneficiary who previously was qualified for, and used NEMT
services on a fee-for service basis has been switched to LOGISTICARE, and after
LOGISTICARE opens a file in regard to the beneficiary, LOGISTICARE ignores the existing
PCS form, sends a new PCS form to the treating physician. In the interim between the time
LOGISTICARE sends out the new PCS form and the time it receives it back, LOGISTICARE has
a pattern and practice of authorizing only NMT, even when the existing PCS form authorizes
NEMT, and such pattern and practice jeopardizes the health and safety of Medi-Cal beneficiaries,
and increases their risk of injury and death, especially those Medi-Cal beneficiaries who need
regular dialysis treatments.

63. Business & Professions Code Section 17200, et seq., prohibits acts of “unfair
competition,” which is defined by Business & Professions Code Section 17200 as including "any
unlawful, unfair or fraudulent business act or practice."

64. The acts and practices of Defendants, as described above, and specifically the
failure to provide rides when required to do so violate Business & Professions Code Section
17200's prohibition against engaging in "unlawful" business acts or practices.

65. Plaintiffs seek declaratory relief enjoining Defendants from continuing these
unlawful business practices and from engaging in such conduct, attorneys’ fees and costs
pursuant to, inter alia, California Civil Code of Procedure Section 1021.5, and all other remedies.

FIFTH CAUSE OF ACTION:
UNLAWFUL BUSINESS ACTS AND PRACTICES
[BUS. & PROF. CODE § 17200, ET SEQ.]

(BY PLAINTIFFS AGAINST DEFENDANTS)

66. Plaintiffs refer to and incorporate by reference each and every allegation contained
in the above paragraphs as though fully set forth herein.

67. Because LOGISTICARE is paid on a capitated rate (i.e., flat fee) for providing
services to Medi-Cal patients, there is a strong incentive to cut costs.

68. In order to avoid paying for properly-operating NEMT companies, which ensure

patient safety and compliance with all state and federal laws, and in violation of Welfare &

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Institutions Code § 14132(ad)(2)(A)(ii) and APL 17-010 (as amended), LOGISTICARE has
coerced doctors, against their medical judgment, into downgrading patient needs from NEMT to
NMT by threatening to not provide any transportation to patients unless doctors completed the
PCS form to authorize NMT, rather than NEMT.

69. Business & Professions Code Section 17200, et seqg., prohibits acts of "unfair
competition,” which is defined by Business & Professions Code Section 17200 as including "any
unlawful, unfair or fraudulent business act or practice."

70. The acts and practices of Defendants, as described above, violate Business &
Professions Code Section 17200's prohibition against engaging in "unlawful" business acts or
practices. |

71. Plaintiffs seek declaratory relief enjoining Defendants from continuing these
unlawful business practices and from engaging in such conduct, attorneys’ fees and costs
pursuant to, inter alia, California Civil Code of Procedure Section 1021.5, and all other remedies.

SIXTH CAUSE OF ACTION:
UNLAWFUL BUSINESS ACTS AND PRACTICES
[BUS. & PROF. CODE § 17200, ET SEQ.]

(BY PLAINTIFFS AGAINST DEFENDANTS)

72. Plaintiffs refer to and incorporate by reference each and every allegation contained
in the above paragraphs as though fully set forth herein.

73. Because LOGISTICARE is paid on a capitated rate (i.e., flat fee) for providing
services to Medi-Cal patients, there is a strong incentive to cut costs.

74. ‘In order to avoid paying for properly-operating NEMT companies, which ensure
patient safety and compliance with all state and federal laws, and in violation of Welfare &
Institutions Code § 14132(ad)(2)(A)Gi) and APL 17-010 (as amended), LOGISTICARE has
transported Medi-Cal patients ignoring PCS forms (which are used to determine the appropriate
level of service for Medi-Cal members) and provided NMT when NEMT had been authorized by
the treating physician.

75. Business & Professions Code Section 17200, et seq., prohibits acts of "unfair

competition," which is defined by Business & Professions Code Section 17200 as including "any

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1 jjunlawful, unfair or fraudulent business act or practice."

2 76. The acts and practices of Defendants, as described above, violate Business &
3 Professions Code Section 17200's prohibition against engaging in "unlawful" business acts or
4 |Ipractices.

5 77. Plaintiffs seek declaratory relief enjoining Defendants from continuing these

6 jfunlawful business practices and from engaging in such conduct, attorneys’ fees and costs

7 |pursuant to, inter alia, California Civil Code of Procedure Section 1021.5, and all other remedies.

8
SEVENTH CAUSE OF ACTION:
9 UNLAWFUL BUSINESS ACTS AND PRACTICES
{BUS. & PROF. CODE § 17200, ET SEQ.]
10 (BY PLAINTIFFS AGAINST DEFENDANTS)
11 78. Plaintiffs refer to and incorporate by reference each and every allegation contained

12 |fin the above paragraphs as though fully set forth herein.

13 79, Because LOGISTICARE is paid on a capitated rate (i-e., flat fee) for providing

14 |lservices to Medi-Cal patients, there is a strong incentive to cut costs. In order to avoid paying for
15 |properly-operating NEMT companies, which ensure patient safety and compliance with all state
16 |jand federal laws, LOGISTICARE has diverted Medi-Cal patients to individuals and companies
17 |jwhich are non-compliant, such as taxicabs or Lyft. Use of non-compliant transportation

18 |jcompanies and individuals jeopardize the health and safety of Medi-Cal patients because such
19 |ipatients: require door-to-door service while taxicabs and Lyft provide only curb-to-curb service;
20 |land because taxicabs and Lyft do not comply with many state and federal laws which regulate
21 |NEMT.

22 80. Business & Professions Code Section 17200, et seq., prohibits acts of "unfair

23 ||competition," which is defined by Business & Professions Code Section 17200 as including "any
24 |junlawful, unfair or fraudulent business act or practice."

25 81. The acts and practices of Defendants, as described above, violate Business &

26 Professions Code Section 17200's prohibition against engaging in "unlawful" business acts or
“27 |Ipractices, by, inter alia, providing rides with Lyft and those drivers have not been screened in
~28 ||regard to personnel and driver requirements.

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1 82. Plaintiffs seek declaratory relief enjoining Defendants from continuing these
2 |junlawful business practices and from engaging in such conduct, attorneys' fees and costs
3 |pursuant to, inter alia, California Civil Code of Procedure Section 1021.5, and all other remedies.
4
5 PRAYER FOR RELIEF
6 WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
7 1. For a permanent injunction compelling LOGISTICARE to ensure that:
8 a. LOGISTICARE abides by all state laws in regard to rates paid to NEMT
9 providers and cease its efforts to coerce NEMT providers into accepting
10 unlawfully low rates;
11 b. LOGISTICARE abides by all laws of the City of Los Angeles in regard to
12 rates paid to NEMT providers and cease its efforts to coerce NEMT
13 | providers into accepting unlawfully low rates;
14 c. LOGISTICARE is to provide safe, timely, and reliable NEMT to all
15 Medi-Cal patients in Los Angeles County, and throughout the State of
16 California, who have an entitlement to NEMT provided by
17 LOGISTICARE;
18 d. LOGISTICARE is to give effect to PCS forms as completed by physicians
19 and not compel or coerce physicians to order NMT when, in their medical
20 opinion, the proper type of transportation is NEMT;
21 e, all transportation vendors under contract to LOGISTICARE provide safe,
22 timely, and reliable NEMT to all other Medi-Cal patients throughout the
23 State who have an entitlement to NEMT provided by LOGISTICARE;
24 f. LOGISTICARE is to provide services by contracting only with
25 transportation vendors who are in compliance with rigorous standards on
ae 6 passenger safety, customer service, and cultural competency, including
37 serving individuals with disabilities; and
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g. all drivers for all transportation vendors under contract with
LOGISTICARE are to perform their services in compliance with state and
federal law.

2. For the Court's continued supervision over LOGISTICARE's efforts to fulfill the
above-identified items and immediate remedies in the event that LOGISTICARE fails to comply
with this Court's orders.

3. For general and special damages according to proof at trial, but in excess of the

minimum jurisdictional limits of this court.

4. For pre- and post-judgment interest.

5. For restitution.

6. For costs of suit.

7. For attorneys' fees as allowed by law including, but not limited to, California Code

of Civil Procedure Section 1021.5.
8. For all other relief the court may deem proper.

Respectfully submitted,

Dated: September 12, 2017. La L Letwel

Stanley. Friedman

Attorney for Plaintiffs

CALIFORNIA MEDICAL TRANS-
PORTATION ASSOCIATION, INC.,
and DIANA BULGARELLI

 

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Exhibit “A”

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Assembly Bill No. 2394

CHAPTER 615

An act to amend Section 14132 of the Welfare and Institutions Code,
relating to Medi-Cal.

[Approved by Governor September 25, 2016. Filed with
Secretary of State September 25, 2016.]

LEGISLATIVE COUNSEL’S DIGEST

AB 2394, Eduardo Garcia. Medi-Cal: nonmedical transportation.

Existing law provides for the Medi-Cal program, which is administered
by the State Department of Health Care Services, under which qualified
low-income individuals receive health care services. The Medi-Cal program
is, in part, governed and funded by federal Medicaid Program provisions.
Existing law provides for a schedule of benefits under the Medi-Cal program,
which includes medical transportation services, subject to utilization controls.

This bill, commencing July 1, 2017, would add to the schedule of benefits
nonmedical transportation, as defined, subject to utilization controls and
permissible time and distance standards, for a beneficiary to obtain covered
Medi-Cal services. The bill would require these provisions to be implemented
only to the extent that federal financial participation is available, and not
otherwise jeopardized, and any necessary federal approvals are obtained.
The bill would specify that these provisions shall not be interpreted to add
a new benefit to the Medi-Cal program, except as provided. The bill would
require the department to adopt regulations by July 1, 2018. Commencing
January 1, 2018, the bill would require the department to provide a status
report to the Legislature on a semiannual basis until regulations have been
adopted.

The people of the State of California do enact as follows:

SECTION 1. Section 14132 of the Welfare and Institutions Code is
amended to read:

14132. The following is the schedule of benefits under this chapter:

{a) Outpatient services are covered as follows:

Physician, hospital or clinic outpatient, surgical center, respiratory care,
optometric, chiropractic, psychology, podiatric, occupational therapy,
physical therapy, speech therapy, audiology, acupuncture to the extent
federal matching funds are provided for acupuncture, and services of persons
rendering treatment by prayer or healing by spiritual means in the practice
of any church or religious denomination insofar as these can be encompassed

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by federal participation under an approved plan, subject to utilization
controls.

(b) (1) Inpatient hospital services, including, but not limited to, physician
and podiatric services, physical therapy and occupational therapy, are
covered subject to utilization controls.

(2) For Medi-Cal fee-for-service beneficiaries, emergency services and
care that are necessary for the treatment of an emergency medical condition
and medical care directly related to the emergency medical condition. This
paragraph shall not be construed to change the obligation of Medi-Cal
managed care plans to provide emergency services and care. For the purposes
of this paragraph, “emergency services and care” and “emergency medical
condition” shall have the same meanings as those terms are defined in
Section 1317.1 of the Health and Safety Code.

(c) Nursing facility services, subacute care services, and services provided
by any category of intermediate care facility for the developmentally
disabled, including podiatry, physician, nurse practitioner services, and
prescribed drugs, as described in subdivision (d), are covered subject to
utilization controls. Respiratory care, physical therapy, occupational therapy,
speech therapy, and audiology services for patients in nursing facilities and
any category of intermediate care facility for the developmentally disabled
are covered subject to utilization controls.

(d) (1) Purchase of prescribed drugs is covered subject to the Medi-Cal
List of Contract Drugs and utilization controls.

(2) Purchase of drugs used to treat erectile dysfunction or any off-label
uses of those drugs are covered only to the extent that federal financial
participation is available.

(3) (A) To the extent required by federal law, the purchase of outpatient
prescribed drugs, for which the prescription is executed by a prescriber in
written, nonelectronic form on or after April 1, 2008, is covered only when
executed on a tamper resistant prescription form. The implementation of
this paragraph shall conform to the guidance issued by the federal Centers
for Medicare and Medicaid Services but shall not conflict with state statutes
on the characteristics of tamper resistant prescriptions for controlled
substances, including Section 11162.1 of the Health and Safety Cade. The
department shall provide providers and beneficiaries with as much flexibility
in implementing these rules as allowed by the federal government. The
department shall notify and consult with appropriate stakeholders in
implementing, interpreting, or making specific this paragraph.

(B) Notwithstanding Chapter 3.5 (commencing with Section 11340) of
Part 1 of Division 3 of Title 2 of the Government Code, the department may
take the actions specified in subparagraph (A) by means of provider bulletin
or notice, policy letter, or other similar instructions without taking regulatory
action.

(4) (A) G) For the purposes of this paragraph, nonlegend has the same
meaning as defined in subdivision (a) of Section 14105.45.

 

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(ii) Nonlegend acetaminophen-containing products, with the exception
of children’s acetaminophen-containing products, selected by the department
are not covered benefits,

(iii) Nonlegend cough and cold products selected by the department are
not covered benefits. This clause shall be implemented on the first day of
the first calendar month following 90 days after the effective date of the act
that added this clause, or on the first day of the first calendar month following
60 days after the date the department secures all necessary federal approvals
to implement this section, whichever is later.

(iv) Beneficiaries under the Early and Periodic Screening, Diagnosis,
and Treatment Program shall be exempt from clauses (ii) and (iii).

(B) Notwithstanding Chapter 3.5 (commencing with Section 11340) of
Part | of Division 3 of Title 2 of the Government Code, the department may
take the actions specified in subparagraph (A) by means of a provider bulletin
or notice, policy letter, or other similar instruction without taking regulatory
action.

(e) Outpatient dialysis services and home hemodialysis services, including
physician services, medical supplies, drugs, and equipment required for
dialysis, are covered, subject to utilization controls.

(f) Anesthesiologist services when provided as part of an outpatient
medical procedure, nurse anesthetist services when rendered in an inpatient
or outpatient setting under conditions set forth by the director, outpatient
laboratory services, and X-ray services are covered, subject to utilization
controls. Nothing in this subdivision shall be construed to require prior
authorization for anesthesiologist services provided as part of an outpatient
medical procedure or for portable X-ray services in a nursing facility or any
category of intermediate care facility for the developmentally disabled.

(g) Blood and blood derivatives are covered.

(h) (1) Emergency and essential diagnostic and restorative dental
services, except for orthodontic, fixed bridgework, and partial dentures that
are not necessary for balance of a complete artificial denture, are covered,
subject to utilization controls. The utilization controls shall allow emergency
and essential diagnostic and restorative dental services and prostheses that
are necessary to prevent a significant disability or to replace previously
furnished prostheses that are lost or destroyed due to circumstances beyond
the beneficiary’s control. Notwithstanding the foregoing, the director may
by regulation provide for certain fixed artificial dentures necessary for
obtaining employment or for medical conditions that preclude the use of
removable dental prostheses, and for orthodontic services in cleft palate
deformities administered by the department’s California Children Services
Program.

(2) For persons 21 years of age or older, the services specified in
paragraph (1) shall be provided subject to the following conditions:

(A) Periodontal treatment is not a benefit.

(B) Endodontic therapy is not a benefit except for vital pulpotomy.

(C) Laboratory processed crowns are not a benefit.

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(D) Removable prosthetics shall be a benefit only for patients as a
requirement for employment. . .

(E) The director may, by regulation, provide for the provision of fixed
artificial dentures that are necessary for medical conditions that preclude
the use of removable dental prostheses.

(F) Notwithstanding the conditions specified in subparagraphs (A) to
(E), inclusive, the department may approve services for persons with special
medical disorders subject to utilization review.

(3) Paragraph (2) shall become inoperative July 1, 1995.

(i) Medical transportation is covered, subject to utilization controls.

(j) Home health care services are covered, subject to utilization controls.

(k) Prosthetic and orthotic devices and eyeglasses are covered, subject
to utilization controls. Utilization controls shall allow replacement of
prosthetic and orthotic devices and eyeglasses necessary because of loss or
destruction due to circumstances beyond the beneficiary’s control. Frame
styles for eyeglasses replaced pursuant to this subdivision shall not change
more than once every two years, unless the department so directs.

Orthopedic and conventional shoes are covered when provided by a
prosthetic and orthotic supplier on the prescription of a physician and when
at least one of the shoes will be attached to a prosthesis or brace, subject to
utilization controls. Modification of stock conventional or orthopedic shoes
when medically indicated, is covered subject to utilization controls. When
there is a clearly established medical need that cannot be satisfied by the
modification of stock conventional or orthopedic shoes, custom-made
orthopedic shoes are covered, subject to utilization controls.

Therapeutic shoes and inserts are covered when provided to beneficiaries
with a diagnosis of diabetes, subject to utilization controls, to the extent that
federal financial participation is available.

(4) Hearing aids are covered, subject to utilization controls. Utilization
controls shall allow replacement of hearing aids necessary because of loss
or destruction due to circumstances beyond the beneficiary’s control.

(m) Durable medical equipment and medical supplies are covered, subject
to utilization controls. The utilization controls shall allow the replacement
of durable medical equipment and medical supplies when necessary because
of loss or destruction due to circumstances beyond the beneficiary’s control.
The utilization controls shall allow authorization of durable medical
equipment needed to assist a disabled beneficiary in caring for a child for
whom the disabled beneficiary is a parent, stepparent, foster parent, or legal
guardian, subject to the availability of federal financial participation. The
department shall adopt emergency regulations to define and establish criteria
for assistive durable medical equipment in accordance with the rulemaking
provisions of the Administrative Procedure Act (Chapter 3.5 (commencing
with Section 11340) of Part 1 of Division 3 of Title 2 of the Government
Code).

(n) Family planning services are covered, subject to utilization controls.
However, for Medi-Cal managed care plans, any utilization controls shall
be subject to Section 1367.25 of the Health and Safety Code.

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(0) Inpatient intensive rehabilitation hospital services, including
respiratory rehabilitation services, in a general acute care hospital are
covered, subject to utilization controls, when either of the following criteria
are met:

(1) A patient with a permanent disability or severe impairment requires
an inpatient intensive rehabilitation hospital program as described in Section
14064 to develop function beyond the limited amount that would occur in
the normal course of recovery.

(2) A patient with a chronic or progressive disease requires an inpatient
intensive rehabilitation hospital program as described in Section 14064 to
maintain the patient’s present functional level as long as possible.

(p) (1) Adult day health care is covered in accordance with Chapter 8.7
(commencing with Section 14520).

(2) Commencing 30 days after the effective date of the act that added
this paragraph, and notwithstanding the number of days previously approved
through a treatment authorization request, adult day health care is covered
for a maximum of three days per week. .

(3) As provided in accordance with paragraph (4), adult day health care
is covered for a maximum of five days per week.

(4) As of the date that the director makes the declaration described in
subdivision (g) of Section 14525.1, paragraph (2) shall become inoperative
and paragraph (3) shall become operative.

(q) (1) Application of fluoride, or other appropriate fluoride treatment
as defined by the department, and other prophylaxis treatment for children
17 years of age and under are covered.

(2) All dental hygiene services provided by a registered dental hygienist,
registered dental hygienist in extended functions, and registered dental
hygienist in alternative practice licensed pursuant to Sections 1753, 1917,
1918, and 1922 of the Business and Professions Code may be covered as
long as they are within the scope of Denti-Cal benefits and they are necessary
services provided by a registered dental hygienist, registered dental hygienist
in extended functions, or registered dental hygienist in alternative practice.

(r) (1) Paramedic services performed by a city, county, or special district,
or pursuant to a contract with a city, county, or special district, and pursuant
to a program established under former Article 3 (commencing with Section
1480) of Chapter 2.5 of Division 2 of the Health and Safety Code by a
paramedic certified pursuant to that article, and consisting of defibrillation
and those services specified in subdivision (3) of former Section 1482 of
the article.

(2) All providers enrolled under this subdivision shall satisfy all applicable
statutory and regulatory requirements for becoming a Medi-Cal provider.

(3) This subdivision shall be implemented only to the extent funding is
available under Section 14106.6.

(s) In-home medical care services are covered when medically appropriate
and subject to utilization controls, for beneficiaries who would otherwise
require care for an extended period of time in an acute care hospital at a
cost higher than in-home medical care services. The director shall have the

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authority under this section to contract with organizations qualified to
provide in-home medical care services to those persons. These services may
be provided to patients placed in shared or congregate living arrangements,
ifa home setting is not medically appropriate or available to the beneficiary.
As used in this section, “in-home medical care service” includes utility bills
directly attributable to continuous, 24-hour operation of life-sustaining
medical equipment, to the extent that federal financial participation is
available.

As used in this subdivision, in-home medical care services include, but
are not limited to:

(1) Level-of-care and cost-of-care evaluations.

(2) Expenses, directly attributable to home care activities, for materials.

(3) Physician fees for home visits.

(4) Expenses directly attributable to home care activities for shelter and
modification to shelter.

(5) Expenses directly attributable to additional costs of special diets,
including tube feeding.

(6) Medically related personal services.

(7) Home nursing education.

(8) Emergency maintenance repair.

(9) Home health agency personnel benefits that permit coverage of care
during periods when regular personnel are on vacation or using sick leave.

(10) All services needed to maintain antiseptic conditions at stoma or
shunt sites on the body.

(11) Emergency and nonemergency medical transportation.

(12) Medical supplies.

(13) Medical equipment, including, but not limited to, scales, gurneys,
and equipment racks suitable for paralyzed patients.

(14) Utility use directly attributable to the requirements of home care
activities that are in addition to normal utility use.

(15) Special drugs and medications.

(16) Home health agency supervision of visiting staff that is medically
necessary, but not included in the home health agency rate.

(17) Therapy services.

(18) Household appliances and household utensil costs directly
attributable to home care activities.

(19) Modification of medical equipment for home use.

(20) Training and orientation for use of life-support systems, including,
but not limited to, support of respiratory functions.

(21) Respiratory care practitioner services as defined in Sections 3702
and 3703 of the Business and Professions Code, subject to prescription by
a physician and surgeon.

Beneficiaries receiving in-home medical care services are entitled to the
full range of services within the Medi-Cal scope of benefits as defined by
this section, subject to medical necessity and applicable utilization control.
Services provided pursuant to this subdivision, which are not otherwise
included in the Medi-Cal schedule of benefits, shall be available only to the

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extent that federal financial participation for these services is available in
accordance with a home- and community-based services waiver.

(t) Home- and community-based services approved by the United States
Department of Health and Human Services are covered to the extent that
federal financial participation is available for those services under the state
plan or waivers granted in accordance with Section 1315 or 1396n of Title
42 of the United States Code. The director may seek waivers for any or all
home- and community-based services approvable under Section 1315 or
1396n of Title 42 of the United States Code. Coverage for those services
shall be limited by the terms, conditions, and duration of the federal waivers.

{u) Comprehensive perinatal services, as provided through an agreement
with a health care provider designated in Section 14134.5 and meeting the
standards developed by the department pursuant to Section 14134.5, subject
to utilization controls.

The department shall seek any federal waivers necessary to implement
the provisions of this subdivision. The provisions for which appropriate
federal waivers cannot be obtained shall not be implemented. Provisions
for which waivers are obtained or for which waivers are not required shall
be implemented notwithstanding any inability to obtain federal waivers for
the other provisions. No provision of this subdivision shall be implemented
unless matching funds from Subchapter XIX (commencing with Section
1396) of Chapter 7 of Title 42 of the United States Code are available.

(v) Early and periodic screening, diagnosis, and treatment for any
individual under 21 years of age is covered, consistent with the requirements
of Subchapter XIX (commencing with Section 1396) of Chapter 7 of Title
42 of the United States Code,

(w) Hospice service which is Medicare-certified hospice service is
covered, subject to utilization controls. Coverage shall be available only to
the extent that no additional net program costs are incurred.

(x) When a claim for treatment provided to a beneficiary includes both
services that are authorized and reimbursable under this chapter, and services
that are not reimbursable under this chapter that portion of the claim for the
treatment and services authorized and reimbursable under this chapter shall
be payable.

(y) Home- and community-based services approved by the United States
Department of Health and Human Services for beneficiaries with a diagnosis
of AIDS or ARC, who require intermediate care or a higher level of care.

Services provided pursuant to a waiver obtained from the Secretary of
the United States Department of Health and Human Services pursuant to
this subdivision, and which are not otherwise included in the Medi-Cal
schedule of benefits, shall be available only to the extent that federal financial
participation for these services is available in accordance with the waiver,
and subject to the terms, conditions, and duration of the waiver. These
services shall be provided to individual beneficiaries in accordance with
the client’s needs as identified in the plan of care, and subject to medical
necessity and applicable utilization control.

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The director may under this section contract with organizations qualified
to provide, directly or by subcontract, services provided for in this
subdivision to eligible beneficiaries. Contracts or agreements entered into
pursuant to this division shall not be subject to the Public Contract Code.

(z) Respiratory care when provided in organized health care systems as
defined in Section 3701 of the Business, and Professions Code, and as an
in-home medical service as outlined in subdivision (s).

(aa) (1) There is hereby established in the department, a program to
provide comprehensive clinical family planning services to any person who
has a family income at or below 200 percent of the federal poverty level,
as revised annually, and who is eligible to receive these services pursuant
to the waiver identified in paragraph (2). This program shall be known as
the Family Planning, Access, Care, and Treatment (Family PACT) Program.

(2) The department shall seek a waiver in accordance with Section 1315
of Title 42 of the United States Code, or a state plan amendment adopted
in accordance with Section 1396a(a)(10)(A)(Gi)(XXD of Title 42 of the
United States Code, which was added to Section 1396a of Title 42 of the
United States Code by Section 2303(a)(2) of the federal Patient Protection
and Affordable Care Act (PPACA) (Public Law 111-148), for a program
to provide comprehensive clinical family planning services as described in
paragraph (8). Under the waiver, the program shall be operated only in
accordance with the waiver and the statutes and regulations in paragraph
(4) and subject to the terms, conditions, and duration of the waiver. Under
the state plan amendment, which shall replace the waiver and shall be known
as the Family PACT successor state plan amendment, the program shall be
operated only in accordance with this subdivision and the statutes and
regulations in paragraph (4). The state shall use the standards and processes
imposed by the state on January 1, 2007, including the application of an
eligibility discount factor to the extent required by the federal Centers for
Medicare and Medicaid Services, for purposes of determining eligibility as
permitted under Section 1396a(a)(10)(A)(ii)(XXD) of Title 42 of the United
States Code. To the extent that federal financial participation is available,
the program shall continue to conduct education, outreach, enrollment,
service delivery, and evaluation services as specified under the waiver. The
services shall be provided under the program only if the waiver and, when
applicable, the successor state plan amendment are approved by the federal
Centers for Medicare and Medicaid Services and only to the extent that
federal financial participation is available for the services. Nothing in this
section shall prohibit the department from seeking the Family PACT
successor state plan amendment during the operation of the waiver.

(3) Solely for the purposes of the waiver or Family PACT successor state
plan amendment and notwithstanding any other law, the collection and use
of an individual’s social security number shall be necessary only to the
extent required by federal law.

(4) Sections 14105.3 to 14105.39, inclusive, 14107.11, 24005, and 24013,
and any regulations adopted under these statutes shall apply to the program
provided for under this subdivision. No other provision of law under the

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Medi-Cal program or the State-Only Family Planning Program shall apply
to the program provided for under this subdivision.

(5) Notwithstanding Chapter 3.5 (commencing with Section 11340) of
Part 1 of Division 3 of Title 2 of the Government Code, the department may
implement, without taking regulatory action, the provisions of the waiver
after its approval by the federal Centers for Medicare and Medicaid Services
and the provisions of this section by means of an all-county letter or similar
instruction to providers. Thereafter, the department shall adopt regulations
to implement this section and the approved waiver in accordance with the
requirements of Chapter 3.5 (commencing with Section 11340) of Part 1 of
Division 3 of Title 2 of the Government Code. Beginning six months after
the effective date of the act adding this subdivision, the department shall
provide a status report to the Legislature on a semiannual basis until
regulations have been adopted.

(6) In the event that the Department of Finance determines that the
program operated under the authority of the waiver described in paragraph
(2) or the Family PACT successor state plan amendment is no longer cost
effective, this subdivision shall become inoperative on the first day of the
first month following the issuance of a 30-day notification of that
determination in writing by the Department of Finance to the chairperson
in each house that considers appropriations, the chairpersons of the
comunittees, and the appropriate subcommittees in each house that considers
the State Budget, and the Chairperson of the Joint Legislative Budget
Committee. ,

(7) If this subdivision ceases to be operative, all persons who have
received or are eligible to receive comprehensive clinical family planning
services pursuant to the waiver described in paragraph (2) shall receive
family planning services under the Medi-Cal program pursuant to subdivision
(n) if they are otherwise eligible for Medi-Cal with no share of cost, or shall
receive comprehensive clinical family planning services under the program
established in Division 24 (commencing with Section 24000) either if they
are eligible for Medi-Cal with a share of cost or if they are otherwise eligible
under Section 24003.

(8) For purposes of this subdivision, “comprehensive clinical family
planning services” means the process of establishing objectives for the
number and spacing of children, and selecting the means by which those
objectives may be achieved. These means include a broad range of acceptable
and effective methods and services to limit or enhance fertility, including
contraceptive methods, federal Food and Drug Administration approved
contraceptive drugs, devices, and supplies, natural family planning,
abstinence methods, and basic, limited fertility management. Comprehensive
clinical family planning services include, but are not limited to,
preconception counseling, maternal and fetal health counseling, general
reproductive health care, including diagnosis and treatment of infections
and conditions, including cancer, that threaten reproductive capability,
medical family planning treatment and procedures, including supplies and
followup, and informational, counseling, and educational services.

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Comprehensive clinical family planning services shall not include abortion,
pregnancy testing solely for the purposes of referral for abortion or services
ancillary to abortions, or pregnancy care that is not incident to the diagnosis
of pregnancy. Comprehensive clinical family planning services shall be
subject to utilization control and include all of the following:

(A) Family planning related services and male and female sterilization.
Family planning services for men and women shall include emergency
services and services for complications directly related to the contraceptive
method, federal Food and Drug Administration approved contraceptive
drugs, devices, and supplies, and followup, consultation, and referral
services, as indicated, which may require treatment authorization requests.

(B) All United States Department of Agriculture, federal Food and Drug
Administration approved contraceptive drugs, devices, and supplies that
are in keeping with current standards of practice and from which the
individual may choose.

(C) Culturally and linguistically appropriate health education and
counseling services, including informed consent, that include all of the
following:

(i) Psychosocial and medical aspects of contraception.

(ii) Sexuality.

(iii) Fertility.

(iv) Pregnancy.

(v) Parenthood.

(vi) Infertility.

(vii) Reproductive health care.

(viii) Preconception and nutrition counseling.

(ix) Prevention and treatment of sexually transmitted infection.

(x) Use of contraceptive methods, federal Food and Drug Administration
approved contraceptive drugs, devices, and supplies.

(xi) Possible contraceptive consequences and followup.

(xii) Interpersonal communication and negotiation of relationships to
assist individuals and couples in effective contraceptive method use and
planning families.

(D) A comprehensive health history, updated at the next periodic visit
(between 11 and 24 months after initial examination) that includes a complete
obstetrical history, gynecological history, contraceptive history, personal
medical history, health risk factors, and family health history, including
genetic or hereditary conditions.

(E) A complete physical examination on initial and subsequent periodic
visits,

(F) Services, drugs, devices, and supplies deemed by the federal Centers
for Medicare and Medicaid Services to be appropriate for inclusion in the
program.

(9) In order to maximize the availability of federal financial participation
under this subdivision, the director shall have the discretion to implement
the Family PACT successor state plan amendment retroactively to July 1,
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(ab) (1) Purchase of prescribed enteral nutrition products is covered,
subject to the Medi-Cal list of enteral nutrition products and utilization
controls.

(2) Purchase of enteral nutrition products is limited to those products to
be administered through a feeding tube, including, but not limited to, a
gastric, nasogastric, or jejunostomy tube. Beneficiaries under the Early and
Periodic Screening, Diagnosis, and Treatment Program shall be exempt
from this paragraph.

(3) Notwithstanding paragraph (2), the department may deem an enteral
nutrition product, not administered through a feeding tube, including, but
not limited to, a gastric, nasogastric, or jejunostomy tube, a benefit for
patients with diagnoses, including, but not limited to, malabsorption and
inborn errors of metabolism, if the product has been shown to be neither
investigational nor experimental when used as part of a therapeutic regimen
to prevent serious disability or death.

(4) Notwithstanding Chapter 3.5 (commencing with Section 11340) of
Part 1 of Division 3 of Title 2 of the Government Code, the department may
implement the amendments to this subdivision made by the act that added
this paragraph by means of all-county letters, provider bulletins, or similar
instructions, without taking regulatory action.

(5) The amendments made to this subdivision by the act that added this
paragraph shall be implemented June 1, 2011, or on the first day of the first
calendar month following 60 days after the date the department secures all
necessary federal approvals to implement this section, whichever is later.

(ac) Diabetic testing supplies are covered when provided by a pharmacy,
subject to utilization controls.

(ad) (1) Nonmedical transportation is covered, subject to utilization
controls and permissible time and distance standards, for a beneficiary to
obtain covered Medi-Cal services.

(2) (A) (i) Nonmedical transportation includes, at a minimum, round
trip transportation for a beneficiary to obtain covered Medi-Cal services by
passenger car, taxicab, or any other form of public or private conveyance,
and mileage reimbursement when conveyance is ina private vehicle arranged
by the beneficiary and not through a transportation broker, bus passes, taxi
vouchers, or train tickets.

(ti) Nonmedical transportation does not include the transportation of sick,
injured, invalid, convalescent, infirm, or otherwise incapacitated beneficiaries
by ambulances, litter vans, or wheelchair vans licensed, operated, and
equipped in accordance with state and local statutes, ordinances, or
regulations.

(B) Nonmedical transportation shall be provided for a beneficiary who
can attest in a manner to be specified by the department that other currently
available resources have been reasonably exhausted. For beneficiaries
enrolled in a managed care plan, nonmedical transportation shall be provided
by the beneficiary’s managed care plan. For Medi-Cal fee-for-service
beneficiaries, the department shall provide nonmedical transportation when

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those services are not available to the beneficiary under Sections 14132.44
and 14132.47.

(3) Nonmedical transportation shall be provided in a form and manner
that is accessible, in terms of physical and geographic accessibility, for the
beneficiary and consistent with applicable state and federal disability rights
laws.

(4) Itis the intent of the Legislature in enacting this subdivision to affirm
the requirement under Section 431.53 of Title 42 of the Code of Federal
Regulations, in which the department is required to provide necessary
transportation, including nonmedical transportation, for recipients to and
from covered services. This subdivision shall not be interpreted to add a
new benefit to the Medi-Cal program.

(5) The department shall seek any federal approvals that may be required
to implement this subdivision, including, but not limited to, approval of
revisions to the existing state plan that the department determines are
necessary to implement this subdivision.

(6) This subdivision shall be implemented only to the extent that federal
financial participation is available and not otherwise jeopardized, and any
necessary federal approvals have been obtained.

(7) Prior to the effective date of any necessary federal approvals,
nonmedical transportation was not a Medi-Cal managed care benefit with
the exception of when provided as an Early and Periodic Screening,
Diagnosis, and Treatment (EPSDT) service.

(8) Notwithstanding Chapter 3.5 (commencing with Section 11340) of
Part 1 of Division 3 of Title 2 of the Government Code, the department,
without taking any further regulatory action, shall implement, interpret, or
make specific this subdivision by means of all-county letters, plan letters,
plan or provider bulletins, or similar instructions until the time regulations
are adopted. By July 1, 2018, the department shall adopt regulations in
accordance with the requirements of Chapter 3.5 (commencing with Section
11340) of Part 1 of Division 3 of Title 2 of the Government Code.
Commencing January 1, 2018, and notwithstanding Section 10231.5 of the
Government Code, the department shall provide a status report to the
Legislature on a semiannual basis, in compliance with Section 9795 of the
Government Code, until regulations have been adopted.

(9) This subdivision shall not be implemented until July 1, 2017.

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Exhibit “B”

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State of California—Health and Human Services Agency

BHC Department of Health Care Services

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JENNIFER KENT
DIRECTOR

EDMUND G, BROWN JR.
GOVERNOR

DATE: July 17, 2017

ALL PLAN LETTER 17-010 (REVISED)
TO: ALL MEDI-CAL MANAGED CARE HEALTH PLANS

SUBJECT: NON-EMERGENCY MEDICAL AND NON-MEDICAL TRANSPORTATION
SERVICES

PURPOSE:

This All Plan Letter (APL) provides Medi-Cal managed care health plans (MCPs) with
guidance regarding Non-Emergency Medical Transportation (NEMT) and Non-Medical
Transportation (NMT) services. With the passage of Assembly Bill (AB) 2394 (Chapter
615, Statutes of 2016), which amended Section 14132 of the Welfare and Institutions
Code (WIC), the Department of Health Care Services (DHCS) is clarifying MCPs’
obligations to provide and coordinate NEMT and NMT services. [n addition, this APL
provides guidance on the application of NEMT and NMT services due to the Medicaid
Menta! Health Parity Final Rule (CMS-2333-F)'. Revised text is found in italics.

BACKGROUND:

DHCS administers the Medi-Cal Program, which provides comprehensive health care
services to millions of low-income families and individuals through contracts with MCPs.
Pursuant to Social Security Act (SSA) Section 1905(a)(29) and Title 42 of the Code of
Federal Regulations (CFR) Sections 440.170, 441.62, and 431.53, MCPs are required
to establish procedures for the provision of Early and Periodic Screening, Diagnostic,
and Treatment (EPSDT) services for qualifying members to receive medically
necessary transportation services. NEMT services are authorized under SSA Section
1902 (a)(70), 42 CFR Section 440.170, and Title 22 of the California Code of
Regulations (CCR) Sections 51323, 51231.1, and 51231.2.

AB 2394 amended WIC Section 14132(ad)(1) to provide that, effective July 1, 2017,
NMT is covered, subject to utilization controls and permissible time and distance
standards, for MCP members to obtain covered Medi-Cal medical, dental, mental
health, and substance use disorder services. Beginning on July 1, 2017, MCPs must
provide NMT for MCP members to obtain medically necessary MCP-covered services
and must make their best effort to refer for and coordinate NMT for all Medi-Cal services

 

 

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mn Managed Care Quality and Monitoring Division

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not covered under the MCP contract. Effective October 1, 2017, in part to comply with

CMS-2333-F and to have a uniform delivery system, MCPs must also provide NMT for
Medi-Cal services that are not covered under the MCP contract. Services that are not

covered under the MCP contract include, but are not limited to, specialty mental health,
substance use disorder, dental, and any other services delivered through the Medi-Cal
fee-for-service (FFS) delivery system.

REQUIREMENTS:

Non-Emergency Medical Transportation

NEMT services are a covered Medi-Cal benefit when a member needs to obtain
medically necessary covered services and when prescribed in writing by a physician,
dentist, podiatrist, or mental health or substance use disorder provider. NEMT services
are subject to a prior authorization, except when a member is transferred from an acute
care hospital, immediately following an inpatient stay at the acute level of care, to a
skilled nursing facility or an intermediate care facility licensed pursuant to Health and
Safety Cade (HSC) Section 12502.

MCPs must ensure that the medical professional's decisions regarding NEMT are
unhindered by fiscal and administrative management, in accordance with their contract
with DHCS%. MCPs are also required to authorize, at a minimum, the lowest cost type
of NEMT transportation (see modalities below) that is adequate for the member's
medical needs. For Medi-Cal services that are not covered by the MCP’s contract, the
MCP must make its best effort to refer for and coordinate NEMT. MCPs must ensure
that there are no limits to receiving NEMT as long as the member's medical services are
medically necessary and the NEMT has prior authorization.

MCPs are required to provide medically appropriate NEMT services when the member's
medical and physical condition is such that transport by ordinary means of public or
private conveyance is medically contraindicated and transportation is required for
obtaining medically necessary services*. MCPs are required to provide NEMT for
members who cannot reasonably ambulate or are unable to stand or walk without
assistance, including those using a walker or crutches®. MCPs shall also ensure door-
to-door assistance for all members receiving NEMT services.

Unless otherwise provided by law, MCPs must provide transportation for a parent or a
guardian when the member is a minor. With the written consent of a parent or guardian,
MCPs may arrange NEMT for a minor who is unaccompanied by a parent or a guardian.

 

zy 122 CCR Section 51323 (b\(2)(C)

~ > Exhibit A, Attachment 1 (Organization and Administration of the Plan)

p> “22 CCR Section 51323 (a)

nm; ° Manual of Criteria for Medi-Cal Authorization, Chapter 12.1 Criteria for Medical Transportation and Related Services 35
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MCPs must provide transportation services for unaccompanied minors when applicable
State or federal law does not require parental consent for the minor’s service. The MCP
is responsible to ensure all necessary written consent forms are received prior to
arranging transportation for an unaccompanied minor.

MCPs must provide the following four available modalities of NEMT transportation in
accordance with the Medi-Cal Provider Manual® and the CCR’ when the member's
medical and physical condition is such that transport by ordinary means of public or
private conveyance is medically contraindicated and transportation is required for the
purpose of obtaining needed medical care:

1. MCPs must provide NEMT ambulance services for®:

e Transfers between facilities for members who require continuous
intravenous medication, medical monitoring or observation.

° Transfers from an acute care facility to another acute care facility.

e Transport for members who have recently been placed on oxygen (does
not apply to members with chronic emphysema who carry their own
oxygen for continuous use).

e Transport for members with chronic conditions who require oxygen if
monitoring is required.

2. MCPs must provide litter van services when the member's medical and
physical condition does not meet the need for NEMT ambulance services, but
meets both of the following:
e Requires that the member be transported in a prone or supine position,
because the member is incapable of sitting for the period of time needed
to transport.
e Requires specialized safety equipment over and above that normally
available in passenger cars, taxicabs or other forms of public conveyance"®.

3. MCPs must provide wheelchair van services when the member’s medical and
physical condition does not meet the need for litter van services, but meets any
of the following:

e Renders the member incapable of sitting in a private vehicle, taxi or other
form of public transportation for the period of time needed to transport’.

 

® Medi-Cal Provider Manual: Medical Transportation — Ground
7 22 CCR Section 51323(a) and (c)

8 Medi-Cal Provider Manual: Medical Transportation — Ground, page 9, Ambulance:
ce} 22 CCR Section 51323 (2)(A)(1)
ce} 22 CCR Section 51323 (2)(B)
«1! 22 CCR Section 51323 (3)(A)

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e Requires that the member be transported in a wheelchair or assisted to
and from a residence, vehicle and place of treatment because of a
disabling physical or mental limitation 12.

e Requires specialized safety equipment over and above that normally
available in passenger cars, taxicabs or other forms of public conveyance’,

Members with the following conditions may qualify for wheelchair van transport
when their providers submit a signed Physician Certification Statement (PCS) form
(as described below)":

Members who suffer from severe mental confusion.

Members with paraplegia.

Dialysis recipients.

Members with chronic conditions who require oxygen but do not require
monitoring.

4. MCPs must provide NEMT by air only under the following conditions":

e When transportation by air is necessary because of the member's medical
condition or because practical considerations render ground transportation
not feasible. The necessity for transportation by air shall be substantiated
in a written order of a physician, dentist, podiatrist, or mental health or
substance use disorder provider.

NEMT Physician Certification Statement Forms

MCPs and transportation brokers must use a DHCS approved PCS form to determine
the appropriate level of service for Medi-Cal members. Once the member's treating
physician prescribes the form of transportation, the MCP cannot modify the
authorization. In order to ensure consistency amongst all MCPs, all NEMT PCS forms
must include, at a minimum, the components listed below:

° Function Limitations Justification: For NEMT, the physician is required to
document the member’s limitations and provide specific physical and medical
limitations that preclude the member's ability to reasonably ambulate without
assistance or be transported by public or private vehicles.

° Dates of Service Needed: Provide start and end dates for NEMT services:
authorizations may be for a maximum of 12 months.

e Mode of Transportation Needed: List the mode of transportation that is to be
used when receiving these services (ambulance/gurney van, litter van,
wheelchair van or air transport).

 

&l2 22 CCR Section 51323 (3)(B)
“£13 22 CCR Section 51323 (3)(C)

iy Medi-Cal Provider Manual: Medical Transportation — Ground, page 11, Wheelchair Van
nm! 22 CCR Section 51323 (c)(2)

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° Certification Statement: Prescribing physician’s statement certifying that medical
necessity was used to determine the type of transportation being requested.

Each MCP must have a mechanism to capture and submit data from the PCS form to
DHCS. Members can request a PCS form from their physician by telephone,
electronically, in person, or by another method established by the MCP.

Non-Medical Transportation

NMT has been a covered benefit when provided as an EPSDT service'®, Beginning on
July 1, 2017, MCPs must provide NMT for MCP members to obtain medically necessary
MCP-covered services. For all Medi-Cal services not covered under the MCP contract,
MCPs must make their best effort to refer for and coordinate NMT.

Effective October 1, 2017, MCPs must provide NMT for all Medi-Cal services, including
those not covered by the MCP contract. Services that are not covered under the MCP
contract include, but are not limited to, specialty mental health, substance use disorder,
dental, and any other benefits delivered through the Medi-Cal FFS delivery system.

NMT does not include transportation of the sick, injured, invalid, convalescent, infirm, or
otherwise incapacitated members who need to be transported by ambulances, litter
vans, or wheelchair vans licensed, operated, and equipped in accordance with state
and local statutes, ordinances, or regulations. Physicians may authorize NMT for
members if they are currently using a wheelchair but the limitation is such that the
member is able to ambulate without assistance from the driver. The NMT requested
must be the least costly method of transportation that meets the member's needs.

MCPs are contractually required to provide members with a Member Services Guide
that includes information on the procedures for obtaining NMT transportation services’.
The Member Services Guide must include a description of NMT services and the
conditions under which NMT is available.

At a minimum, MCPs must provide the following NMT services "8:

e Round trip transportation for a member by passenger car, taxicab, or any other
form of public or private conveyance (private vehicle)'9, as well as mileage
reimbursement for medical purposes?° when conveyance is in a private vehicle
arranged by the member and not through a transportation broker, bus passes,
taxi vouchers or train tickets.

 

‘8 WiC 14132 (ad)(7)
S317 Exhibit A, Atiachment 13 (Member Services), Written Member Information
“48 WIC Section 14132(ad)
- '® Vehicle Code (VEH) Section 465

n* IRS Standard Mileage Rate for Business and Medica! Purposes 38

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e Round trip NMT is available for the following:
o Medically necessary covered services.
o Members picking up drug prescriptions that cannot be mailed directly to
the member.
o Members picking up medical supplies, prosthetics, orthotics and other
equipment.
e MCPs must provide NMT in a form and manner that is accessible, in terms of
physical and geographic accessibility, for the member and consistent with
applicable state and federal disability rights laws.

Conditions for Non-Medical Transportation Services:

° MCP may use prior authorization processes for approving NMT services and re-
authorize services every 12 months when necessary.

° NMT coverage includes transportation costs for the member and one attendant,
such as a parent, guardian, or spouse, to accompany the member in a vehicle or
on public transportation, subject to prior authorization at time of initial NMT
authorization request.

e With the written consent of a parent or guardian, MCPs may arrange for NMT for
a minor who is unaccompanied by a parent or a guardian. MCPs must provide
transportation services for unaccompanied minors when state or federal law does
not require parental consent for the minor’s service. The MCP is responsible to
ensure all necessary written consent forms are received prior to arranging
transportation for an unaccompanied minor.

e NMT does not cover trips to a non-medical location or for appointments that are
not medically necessary.

° For private conveyance, the member must attest to the MCP in person,
electronically, or over the phone that other transportation resources have been
reasonably exhausted. The attestation may include confirmation that the member:

o Has no valid driver's license.

o Has no working vehicle available in the household.

o Is unable to travel or wait for medical or dental services alone.
o Has a physical, cognitive, mental, or developmental limitation.

Non-Medical Transportation Private Vehicle Authorization Requirements

The MCPs must authorize the use of private conveyance (private vehicle)?’ when no
other methods of transportation are reasonably available to the member or provided by
the MCP. Prior to receiving approval for use of a private vehicle, the member must
exhaust all other reasonable options and provide an attestation to the MCP stating other
methods of transportation are not available. The attestation can be made over the

 

2} VEH Section 465

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ALL PLAN LETTER 17-010 (REVISED)
Page 7

phone, electronically, or in person. In order to receive gas mileage reimbursement for
use of a private vehicle, the driver must be compliant with all California driving
requirements, which include?2:

e Valid driver's license.

e Valid vehicle registration.

e Valid vehicle insurance.

MCPs are only required to reimburse the driver for gas mileage consistent with the
Internal Revenue Service standard mileage rate for medical transportation23.

Non-Medical Transportation Authorization

MCPs may authorize NMT for each member prior to the member using NMT services.
If the MCP requires prior authorization for NMT services, the MCP is responsible for
developing a process to ensure that members can request authorization and be
approved for NMT in a timely matter. The MCP’s prior authorization process must be
consistently applied to medical/surgical, mental health and substance use disorder
services as required by CMS-2333-F.

Non-Medical Transportation and Non-Emergency Medical Transportation Access
Standards

MCPs are contractually required to meet timely access standards2*. MCPs that have a
Knox-Keene license are also required to meet the timely access standards contained in
Title 28 CCR Section 1300.67.2.2. The member's need for NMT and NEMT services do
not relieve the MCPs from complying with their timely access standard obligations.

MCPs are responsible for ensuring that their delegated entities and subcontractors
comply with all applicable state and federal laws and regulations, contractual
requirements, and other requirements set forth in DHCS guidance, including APLs and
Dual Plan Letters. MCPs must timely communicate these requirements to all delegated
entities and subcontractors in order to ensure compliance.

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Nae
“2 VEH Section 12500, 4000, and 16020

3 IRS Standard Mileage Rate for Business and Medical Purposes
ni 28 CCR Section1300.51(d)(H); Exhibit A, Attachment 9 (Access and Availability) 40

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ALL PLAN LETTER 17-010 (REVISED)
Page 8

lf you have any questions regarding this APL, contact your Managed Care Operations
Division Contract Manager.

Sincerely,

- Original Signed by Nathan Nau

Nathan Nau, Chief
Managed Care Quality and Monitoring Division

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Exhibit “C”

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, State of California—Health and Human Services Agenc
BHCS vo

. YQ Department of Health Care Services

 

JENNIFER KENT EDMUND G. BROWN JR.
DIRECTOR GOVERNOR
July 31, 2017

The Honorable Adrin Nazarian
Member of the Assembly
State Capitol, Room 4146
Sacramento, CA 95814

Dear Assembly Member Nazarian:

Thank you for your letter dated May 19, 2017, in which you requested clarification about
the Medi-Cal Non-Emergency Medical Transportation (NEMT) and Non-Medical
Transportation (NMT) benefit. The Department of Health Care Services (DHCS)
released the All Plan Letter (APL) on June 29, 2017, that provides Medi-Cal managed
care health plans (Plans) guidance regarding NEMT and NMT services.

NMT and NEMT are both benefits under the Medi-Cal program. NEMT is a covered
Medi-Cal benefit that must be provided to a Medi-Cal managed care member (Member)
when it is needed to obtain medically necessary covered services and when prescribed
by a physician. Title 22 CCR section 51323(b) requires plans to provide the “type of
medical transportation that is adequate for the patient's medical needs.” In response to
your specific question, NMT is not an appropriate, qualifying alternative when all
necessary criteria for NEMT are met.

As outlined in the APL and 22 CCR section 51323, the four modes of NEMT include
ambulance, litter van, wheelchair van, and air transport. NEMT services require a
Physician Certification Statement (PCS) form, and must specify, at a minimum, the
functional limitations justification, date of services needed, mode of transportation
needed, and the prescribing physician's certification statement. In order to ensure that
Members obtain the transportation “that is adequate for the patient's medical needs,”
MCPs cannot alter the type of transportation prescribed through the PCS form once
authorized by the Member's physician. In addition, plans must ensure that the medical
professional's decisions regarding NEMT are unhindered by fiscal and administrative
management. Last, only the authorizing physician may make updates or changes to the
PCS form. Once the prescription is on file for the Member, the plan is required to
provide the prescribed NEMT to the Member.

Effective July 1, 2017, NMT is a Medi-Cal benefit to assist Members in obtaining
medically necessary covered Medi-Cal services. NMT includes round-trip transportation
@Py passenger car, taxicab, or other forms of private or public conveyance.

 

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. anaged Care Quality and Monitoring Division

hd 1501 Capitol Avenue, P.O, Box 997413, MS 4400

a Sacramento, CA 95899-7413

me Phone (916) 449-5000 Fax (916) 449-5005

mad www.dhcs.ca.gov

 
 

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The Honorable Adrin Nazarian
Page 2
July 31, 2017 ~

NMT does not include medical transportation of the sick, injured, invalid, convalescent,
infirm, or incapacitated. Plans are permitted to require prior authorization before a
Member can access NMT. To obtain prior authorization, the Member must attest that
other transportation options have been reasonably exhausted. Plans may authorize
reimbursement for the use of a third person's private vehicle if the driver has a valid
driver's license, vehicle registration, and vehicle insurance.

Effective October 1, 2017, in part to comply with the Medicaid Mental Health Parity Final
Rule (CMS-2333-F) and to have a uniform delivery system, plans must also provide
NMT for Medi-Cal services that are not covered under the plan’s contract (i.e, dental or
specialty mental health services).

DHCS continuously monitors our plans to ensure appropriate provision of covered
transportation services through various mechanisms, including but not limited to, review
and analysis of member grievances, Ombudsman reporting, and plan annual medical
audits. DHCS will also review plans' policies and procedures related to NEMT and NMT
to ensure plans are compliant with the new transportation requirements effective July 1,
2017, and October 1, 2017. DHCS will also conduct enhanced monitoring throughout
the first year of implementation, at a minimum, of this benefit for Medi-Cal managed
care Members. The enhanced monitoring will include data collection from plans
pertaining to utilization, access to services, and grievances for both NEMT and NMT.

if you have any further questions, please contact me at nathan.nau@dhcs.ca.gov or
916-552-9373.

Sincerely,
JEG

Nathan Nau, Chief
Managed Care Quality and Monitoring Division
Department of Health Care Services

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Exhibit “D”

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CITY OF LOS ANGELES
CALIFORNIA

Seleta J. Reynolds DEPARTMENT OF TRANSPORTATION

 

GENERAL MANAGER 100 S. Main SL, 10” Floor
LOS ANGELES, CA 90012
(213) 972-8470
FAX (213) 972-8410
e TAXICAB & FRANCHISE REGULATIONS
ERIC GARCETTI FAN (606) 3168169
MAYOR
March 15, 2017 E14
VIA REGULAR MAIL & EMAIL
LogistiCare Solutions
Attn: Jody Gonzalez
7441 Lincoin Way, Suite 200
Garden Grove, CA 92841
SUBJECT: Non-Ambulatory Rates for Medical Transportation in the City of Los Angeles

Dear Ms. Gonzalez,

The Los Angeles Department of Transportation (LADOT) which regulates medical transportation for the
City of Los Angeles has received notice that LogistiCare Solutions has suggested its own rate structure
for medical transportation in Los Angeles. Our office is here to inform you that rates for Medical
Transportation in the City of Los Angeles are set by the City Board of Transportation Commissioners and
are non-negotiable.

For your reference a copy of Ordinance Number 182502 with the appropriate service rates is attached to
this letter.

Please note that the explicit language of the ordinance reads as follows:

“Any person, firm or corporation violating any of the provisions of said resolution shall be guilty
of a misdemeanor and upon conviction shall be punishable by a fine of not more than One
Thousand Dollars ($1,000.00), by imprisonment in the County Jail for a period not to exceed one
hundred eighty (180) days, or by both such fine and imprisonment.”

This penalty structure is per occurrence.

Ajong with regulation and inspection of vehicles, the LADOT also ensures that each driver providing
medical transportation is CPR certified and the individual must have the documented ability to
administer first aid. Providers that service the City of Los Angeles may not deviate from these rates or
the level of training required of their driver attendants.

The LADOT requests that your office abide by these guidelines when scheduling service and working
with providers that serve the City of Los Angeles

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™ AN EQUAL EMPLOYMENT OPPORTUNITY ~ AFFIRMATIVE ACTION EMPLOYER

 
 

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Non-Ambulatory Rates -2- March 15, 2017

Thank you for your time and attention to this matter

Sincerely,

0. Oy. YP do \ :

be M. MURRAY, Taxicab and Franchise Administrator
Taxicab and Franchise Regulation Division

L17-034.jmm
Attachment: Ordinance No, 182502

Cc: L.A. Healthcare Plan
Health Net Inc.
Anthem Blue Cross

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Case 2:17-cv-07495-SJO-JC Document 1-1 Filed 10/13/17 Page 53 0f 55 Page ID #:58

ORDINANCENo, _: 182502

An ordinance approving a resolution of the Los Angeles City Board of
Transportation Commissioners, designated as Board Order No. 602, adopted June 14,
2012, fixing rates and charges for non-ambulatory passenger vehicle service in the City
of Los Angeles.

THE PEOPLE OF THE CITY OF LOS ANGELES
DO ORDAIN AS FOLLOWS:

Section 1. The resolution of the Board of Transportation Commissioners
designated as Board Order No. 597 and its implementing ordinance are hereby
rescinded and superceded by the resolution adopted by the Board of Transportation
Commissioners on June 14, 2012, designated as Board Order No. 602, establishing and
prescribing the legal rates to be charged by all non-ambulatory passenger vehicle
providers in the City of Los Angeles, and said rates are hereby approved, as authorized
pursuant to Section 22.484(g)(2)B.2.(ii) of the Administrative Code of the City of Los
Angeles as follows:

Response to Cail for Wheelchair Passengers

T PatiOMt oe cc eecceecesseseeesestscueverscsvaevssssaesassevavsasisvssesvsvevesseesseeeese $37.25
2 Patients, each patient oo... cccccccssssessssssserssescscavstecetseecessssssesevevenes $24.00
3 Patients, each patient 0. cccececsesessescessescsecssesseassisestecceseeeececces $21.00
4 or more patients, each patient oo... cecsecccessecsececsssscsecsecesceesseseseccs. $16.75

Response to Call for Litter Passenger

Each Patient oo. cccsesscssvesessecvsvsrscerstecacsesesssecatavevstsesscssevacusuvecevecescese., $95.50

Mileage Rate

Each mile or fraction thereof ooo... ccccccscscescsseetevscertacssasesvecseseveceeseeececsece, $3.50

Time Rate

Waiting Time: Elapsed time necessitated by conditions beyond control of the
operator at the loading and/or discharge points.

For each 15-minute period or major fraction
thereof after an initial 15-minute period oo. ccceccccccsceccececsceeces, $9.00

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Special Charges

a, Service rendered after 7:00 p.m. and before 7:00 A.M. ....ccccccccccecese $14.50
b. Extra attendant ........ seccsnssstutvsensensussanvesenestssisssressenssisiesissessseseece, $20.00
Cc. Wheelchair US 6 ooo cecececsesssseseesseececsesecseavavsssesapsvassssecesseessersess $8.25
d. OXYGEN oe ee cecetenstessesenesseecsesssscevsesvaceveassrausasssvssestitvevsesevessevanes $20.00

Group Loads

In group loads, the mileage charge shall be prorated equitably among the
passengers. The charge for an extra attendant shall be divided among those
wheelchair passengers requesting the extra attendant: each litter patient shall be
responsible for the full charge for the extra attendant.

Rebates

it shail be untawful for any non-ambulatory passenger vehicle service operator to
give directly or indirectly, or cause to be given, any rebates, commissions,
reserve rebates, or any reduced rates or cash discounts to any person, or
persons, or groups of any nature, except as provided herein or which may be
authorized by the Board by regulation.

Applicability

The permittee shall not collect any rate or charge for non-ambulatory passenger
vehicle trips originating in the City of Los Angeles other than authorized herein or
as determined by any paramount authority. The foregoing rates and charges
shall comprise the total of the permittee’s service authorized by permit granted by
the City of Los Angeles. .

Statement on Bills

Each bill for service rendered given to the customer shall contain a statement
that complaints be referred to the Department of Transportation, 100 S. Main
Street, 1*' Floor, Los Angeles, California 90012, telephone (213) 928-9600.

Sec. 2. Any person, firm or corporation violating any of the provisions of said
resolution shall be guilty of a misdemeanor and upon conviction shall be punishable by
a fine of not more than One Thousand Dollars ($1,000.00), by imprisonment in the
County Jail for a period not to exceed one hundred eighty (180) days, or by both such
fine and imprisonment.

 

 
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Sec. 3. The City Clerk shall certify to the passage of this ordinance and have it
published in accordance with Council policy, either in a daily newspaper circulated
in the City of Los Angeles or by posting for ten days in three public places in the City of
Los Angeles: one copy on the bulletin board located at the Main Street entrance to the
Los Angeles City Hall; one copy on the bulletin board located at the Main Street
entrance to the Los Angeles City Hall East; and one copy on the bulletin board located
at the Temple Street entrance to the Los Angeles County Hall of Records.

| hereby certify that this ordinanes ws was §, Passed by the Council of the City of Los
Angeles, at its meeting of

 

JUNE LAGMAY, City Clerk,

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Deputy

Approved APR 4

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Lf " Mayor

 

Approved as to Form and Legality

CARMEN A. TRUTANICH, City Attorney

MICHAEL NAC
Deputy City emey
Date ibe, pe
File No, [2-~ 0420

CMAGENERAL COUNSEL DIVISION\MICHAEL NAGLE\Ordinance\B 12-0920 Non Ambulance Ord..doc

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